                    ON PETITION FOR REHEARING
March 27, 1939.
The appellant, Annie M. Knotts, asks for a rehearing in this case. An examination of her petition, however, discloses no good ground for granting same. In fact, she does not challenge the correctness of the opinion in this action or of the opinion in First Carolinas Joint Stock Land Bank v.Knotts et al., S.C. 1 S.E.2d 797, when standing alone, but complains that if these cases are tried separately, as required by the Court, confusion, etc., will result, as the res
involved in the First Carolinas Joint Stock Land Bank case
includes the res involved in this action.
Upon consideration, we think that this case may properly be merged with the First Carolinas Joint StockLand Bank v. Knotts et al., as it appears that all issues involved in the two suits can be disposed of in that action.
The Court, therefore, amends Paragraph 2 of its opinion heretofore filed in this case, so that such paragraph will read as follows: "His order, therefore, from which this appeal is taken, and which will be reported, is affirmed, except as to the provision therein that all issues arising in the case be referred to the Honorable B.H. Moss, County Judge, to take the testimony on such issues, etc. Instead, it is ordered that this action, Knotts v. Knotts et al., be merged with the case of First Carolinas Joint Stock Land Bank v. Knotts etal., now in process of decision, for trial in that action of the issues involved herein."
The opinion heretofore filed in this case, as thus amended, is the judgment of the Court.
The order staying the remittitur is revoked.
MR. CHIEF JUSTICE STABLER and MESSRS. JUSTICES BONHAM, BAKER and FISHBURNE concur. *Page 260 